     Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 1 of 23




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


PROJECT VERITAS,

     Plaintiff,                                         CIVIL ACTION FILE

v.                                                     No. 1:21-CV-01722-SCJ


CABLE NEWS NETWORK, INC.,

     Defendant.


                                           ORDER

        This matter appears before the Court on the Motion to Dismiss filed by

Defendant Cable News Network, Inc. Doc. No. [20].1

I.      BACKGROUND

        On April 26, 2021, Plaintiff Project Veritas (“Project Veritas”) filed this

action for damages against Defendant Cable News Network, Inc. (“CNN”). Doc.

No. [1]. In its Complaint, Project Veritas asserts a cause of action for defamation.




1 All citations are to the electronic docket unless otherwise noted, and all page numbers
are those imprinted by the Court’s docketing software.
    Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 2 of 23




Id. at 14. The following facts are taken from the Complaint and in accordance

with applicable law, accepted as true for purposes of the pending Motion.

       Project Veritas describes itself as “investigative journalism organization”

that “investigates and exposes corruption, dishonesty . . . and other misconduct”

with the goal of “enhancing ethical conduct and institutional transparency in

American society.” Id. ¶ 3, 20–21.

       On February 11, 2021, CNN employee, Ana Cabrera posted on her Twitter2

account that Twitter had permanently banned Project Veritas for “repeated

violations of Twitter’s policies prohibiting the sharing—or threats of sharing—of

other people’s private information without consent.” Id. ¶ 2. The Twitter ban

stemmed from a video that Project Veritas posted on its account that showed

Project Veritas reporters seeking to interview Facebook Vice President,

Guy Rosen, outside a residence. Id. ¶¶ 4, 26–27. The video also showed the house

number of the residence. Id. ¶ 27.

       Also on February 11, 2021 (in addition to the Cabrera post), CNN reported

in an article by Brian Fung that “Project Veritas was permanently banned from




2 Twitter is a social media platform. See generally NetChoice, LLC v. Moody, 546 F.
Supp. 3d 1082, 1085 (N.D. Fla. 2021).
                                      2
    Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 3 of 23




Twitter for . . . a video/tweet that violated ‘the platform’s policies prohibiting

sharing—or threats of sharing—other people’s private information without

consent.’” Id. ¶¶ 6, 43 (citing Brian Fung, “Twitter permanently bans Project

Veritas   account,”    CNN.COM         (February       11,     2021),    https://www.cnn.

com/2021/02/11/tech/twitter-project-veritas/index.html;                    Ana     Cabrera

(@AnaCabrera),        Twitter     (February      11,         2021),     https://twitter.com

/anacabrera/status/1359977301312761857?lang=en).

       Subsequently, on February 15, 2021, during an on-air discussion between

Cabrera and CNN reporter Brian Stelter, Cabrera stated the following concerning

Project Veritas’s Twitter ban:

             We’re starting to see companies cracking down to try to
             stop the spread of misinformation and to hold some
             people who are spreading it accountable, Brian. For
             example, Twitter has suspended the account of Project
             Veritas, a conservative activist, uh, activist organization.
             At least that how they couch themselves with
             followers . . . But this is part of a much broader
             crackdown, as we mentioned, by social media giants
             that are promoting misinformation.

Id. ¶ 39 (emphasis omitted).3



3 The quote in CNN’s brief is slightly different than the one in the Complaint. The quote
in the brief is as follows:

                                         3
    Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 4 of 23




       In response, Stelter stated: “Uh, yes . . . Project Veritas, a very controversial

conservative group, uh, got swept up in a Twitter policy by violating multiple

rules on the site.” Id. ¶ 40 (emphasis omitted).4

       Following the broadcast, Project Veritas’s general counsel contacted

general counsel for CNN, as well as CNN employees Cabrera, Stelter, and Fung,

objecting to the broadcast’s commentary regarding the reason behind the ban. Id.

¶ 45. Project Veritas states that “CNN had no basis for claiming Project Veritas

was banned for ‘promoting misinformation.’” Id. ¶ 42. Project Veritas demanded

a correction and retraction, to which CNN declined. Id. ¶¶ 45, 46.




              CABRERA: And of course social media plays such a huge
              role here. We’re starting to see companies crack down to try
              to stop the spread of misinformation and to hold some
              people who are spreading accountable, Brian. For example
              Twitter has suspended the account of Project Veritas, a
              conservative activist organization, at least that’s how they
              couch themselves with followers including Donald Trump
              Jr., Eric Trump, but this is part of a much broader crackdown
              as we mentioned by social media giants on accounts that are
              promoting misinformation.

Doc. No. [20-1], 6.
4 Project Veritas further states: “Ana Cabrera and Brian Stelter are CNN employees, and
CNN is responsible for the acts and omissions of its employees made in the course of
their employment duties through the principle of respondeat superior.” Doc. No. [1],
¶ 41.
                                         4
    Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 5 of 23




       Project Veritas now brings this action alleging one count of defamation.

Doc. No. [1]. Specifically, Project Veritas asserts that CNN “published false

statements to multiple third parties stating that Project Veritas was banned from

Twitter for ‘promoting misinformation.’” Id. ¶ 48. Project Veritas asserts that

“CNN’s statements are provably false, because Twitter stated its claimed reason

for banning Project Veritas was because Project Veritas truthfully published

supposed ‘private information.’” Id. ¶ 49.

       In response to Project Veritas’s Complaint, CNN filed a Motion to Dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim

upon which relief may be granted. Doc. No. [20].5 Following the filing of CNN’s



5 Defendant CNN attached several documents to its motion: Exhibit 1 (Twitter’s Private
information policy dated March 2019); Exhibit 2 (Ana Cabrera’s February 11, 2021 tweet
that is referenced in paragraph 6 of the Complaint); Exhibit 3 (the CNN transcript for a
segment of “CNN Newsroom” which aired on February 14, 2021); and Exhibit 4 (a video
segment of “CNN Newsroom” which aired on February 14, 2021). The Court notes that
the Complaint alleges a February 15, 2021 airing date. It is not clear to the Court why
the dates do not match. The Court also notes that Exhibit 3 (the transcript) is incomplete
in that the bottom of page 8 appears to have been misprinted and does not contain
Cabrera’s full statement (as compared to the relevant language in the Complaint,
briefing, and video exhibit attached to the Motion to Dismiss as Exhibit 4). Accordingly,
the Court gives no consideration to Exhibit 3. The Court has, however, considered
Exhibits 1, 2, and 4 because there appears to be no dispute as to authenticity and said
documents are central to Project Veritas’s claim. See Maxcess, Inc. v. Lucent Techs., Inc.,
433 F.3d 1337, 1340 n.3 (11th Cir. 2005) (“[A] document outside the four corners of the
complaint may still be considered if it is central to the plaintiff’s claims and is

                                          5
      Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 6 of 23




Motion, Project Veritas filed a response in opposition and CNN replied. Doc.

Nos. [22]; [26]. This matter is now ripe for review.

II.      LEGAL STANDARD

         Federal Rule of Civil Procedure 8(a) requires a complaint to contain a

“short and plain statement of the claim showing that the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). Pleadings do not require any particular technical

form. Fed. R. Civ. P. (8)(d)(1). However, labels, conclusions, and formulaic

recitations of the elements of the case of action “will not do.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007).




undisputed in terms of authenticity.”); see also Day v. Taylor, 400 F.3d 1272, 1276 (11th
Cir. 2005) (discussing authenticity, undisputed, and centrality requirements for
consideration of exhibits attached to a motion to dismiss). The Court is unable to uphold
Project Veritas’s arguments in opposition as to the exhibits at issue. In particular,
Exhibit 1, the Twitter privacy policy, was referenced in the Complaint as the initially
reported basis for Project Veritas’s ban from Twitter and the policy is also referenced in
the Complaint in regard to Project Veritas’s claim that its journalistic integrity and
reputation are impugned by an allegation that it was banned from Twitter for spreading
misinformation as compared to an allegation that it was banned from Twitter for
violating a Twitter policy that prohibits the sharing of private information. Doc. No. [1],
¶¶ 2, 49; see also Lockwood v. Beasley, 211 F. App’x 873, 877 (11th Cir. 2006) (noting
that in determining whether a document is central to a plaintiff’s case, the Eleventh
Circuit has “considered whether the plaintiff would have to offer the document to prove
his case” and also stating that “[a] document is undisputed if its authenticity is not
challenged.”). The Court makes no finding as to whether Project Veritas actually
violated a Twitter policy, but does consider the Twitter policies for purposes of the
reputation claims.
                                          6
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 7 of 23




      Pursuant to Federal Rule of Civil Procedure 12(b)(6), a defendant may

move to dismiss a complaint for failure to state a claim upon which relief may be

granted. Fed. R. Civ. P. 12(b)(6).

      “To decide whether a complaint survives a motion to dismiss, [courts] use

a two-step framework.” McCullough v. Finley, 907 F.3d 1324, 1333 (11th Cir.

2018). First, the court identifies “the allegations that are ‘no more than

conclusions,” [as] [c]onclusory allegations are not entitled to the assumption of

truth. Id. (citations omitted). “Second, after disregarding conclusory allegations,

[the Court] assume[s] any remaining factual allegations are true, [identifies the

elements that the plaintiff must plead to state a claim] and determine[s] whether

those factual allegations ‘plausibly give rise to an entitlement to relief.’” Id.; see

also Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009) (beginning the 12(b)(6) analysis

“by taking note of the elements a plaintiff must plead to state a claim . . . .”) and

Speaker v. U.S. Dep’t. of Health & Human Servs. Ctrs. for Disease Control &

Prevention, 623 F.3d 1371, 1379 (11th Cir. 2010) (“In ruling on a 12(b)(6) motion,

the Court accepts the factual allegations in the complaint as true and construes

them in the light most favorable to the plaintiff.”) and Fed. R. Civ. P. 8(e)

(“Pleadings must be construed so as to do justice.”).


                                        7
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 8 of 23




      A complaint will be dismissed for failure to state a claim only if the facts

as pled do not state a claim that is plausible on its face. Iqbal, 556 U.S. at 678;

Twombly, 550 U.S. at 555–56. In order to state a plausible claim, a plaintiff need

only plead “factual content that allows the court to draw the reasonable inference”

that the defendant is liable for the misconduct alleged. Iqbal, 556 U.S. at 678.

“Asking for plausible grounds . . . does not impose a probability requirement at

the pleading stage; it simply calls for enough fact to raise a reasonable expectation

that discovery will reveal evidence” of the claim. Twombly, 550 U.S. at 556. A

complaint “requires more than labels and conclusions, and a formulaic recitation

of a cause of action’s elements.” Id. at 545. Although Rule 8(a)(2) does not require

a complaint to contain “‘detailed factual allegations,’” the Rule does, however,

demand “more than an unadorned, the-defendant-unlawfully-harmed-me-

accusation.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 545).

      The Eleventh Circuit has also stated that “application of the plausibility

pleading standard makes particular sense when examining public figure

defamation suits [because] [i]n these cases, there is a powerful interest in

ensuring that free speech is not unduly burdened by the necessity of defending




                                       8
    Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 9 of 23




against expensive yet groundless litigation.” Michel v. NYP Holdings, Inc., 816

F.3d 686, 702 (11th Cir. 2016).

III.   ANALYSIS

       A.    Choice of Law

       As this Court is exercising jurisdiction based on diversity of citizenship,

28 U.S.C. § 1332, the Court must apply the choice of law rules of the forum state,

here, the State of Georgia, “to determine which substantive law governs the

action.” U.S. Fid. & Guar. Co. v. Liberty Surplus Ins. Corp., 550 F.3d 1031, 1033

(11th Cir. 2008). Georgia follows the doctrine of lex loci delicti, which provides that

a tort action is governed by the substantive law of the state where the tort was

committed. Dowis v. Mud Slingers, Inc., 279 Ga. 808, 809, 621 S.E.2d 413, 414

(2005). While it does not appear that there are any reported cases from Georgia’s

appellate courts applying the doctrine of lex loci delicti in a multistate defamation

context, at least two district courts sitting in Georgia have applied the doctrine.6

See Donald J. Trump for President, Inc. v. CNN Broad., Inc., 500 F. Supp. 3d 1349,




6 The term “multistate defamation” refers to “situations where a defamatory statement
in an aggregate communication is published to persons other than the person defamed
in two or more states.” Restatement (Second) of Conflict of Laws § 150 (Am. L. Inst.
1971).
                                        9
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 10 of 23




1354 (N.D. Ga. 2020); Adventure Outdoors, Inc. v. Bloomberg, No. 1:06-cv-2897-

JOF, 2007 WL 9735875, at *3 (N.D. Ga. Dec. 18, 2007). This Court adopts the

reasoning of said cases and holds that the “place of the wrong is not where the

allegedly defamatory statement was issued but rather where [p]laintiff was

injured, that is, its domicile.” Donald J. Trump for President, Inc., 500 F. Supp. 3d

at 1354.

      A corporation, like Project Veritas, is domiciled in its “place of

incorporation and principal of business.” Daimler AG v. Bauman, 571 U.S. 117,

137 (2014). Project Veritas’s place of incorporation is Virginia and its principal

place of business is New York. Doc. No. [1], ¶ 16. Neither party has argued that

New York law should not apply to this cause of action. See Doc. Nos. [20-1], 9;

[22], 10). And the alleged injury, i.e., the harm to Project Veritas’s reputation

“is more principally felt where it has its ongoing operations, as opposed to where

it is incorporated.” Donald J. Trump for President, Inc., 500 F. Supp. 3d at 1354.

Thus, under the doctrine of lex loci delicti, the law of New York applies to

Project Veritas’s defamation claim. See also Jacoby v. Cable News Network, Inc.,

No. 21-12030, 2021 WL 5858569, at *3 (11th Cir. Dec. 10, 2021) (“Defamation and

defamation by implication are state causes of action.”).


                                       10
    Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 11 of 23




       B.     Elements of Defamation

       “Defamation is ‘the making of a false statement which tends to expose the

plaintiff to public contempt, ridicule, aversion or disgrace, or induce an evil

opinion of him in the minds of right-thinking persons, and to deprive him of their

friendly intercourse in society.’” Stepanov v. Dow Jones & Co., 120 A.D.3d 28, 34,

987 N.Y.S.2d 37, 41 (2014) (citations omitted). To sustain a cause of action for

defamation under New York law, a plaintiff must plead five elements: “(1) a

written defamatory statement of and concerning the plaintiff; (2) publication to a

third party; (3) fault; (4) falsity of the defamatory statement; and (5) special

damages or per se actionability.” Palin v. New York Times Co., 940 F.3d 804, 809

(2d Cir. 2019).

       When applying state defamation law to public figures, the First

Amendment imposes additional limitations.” Coral Ridge Ministries Media, Inc.

v. Amazon.com, Inc., 6 F.4th 1247, 1252 (11th Cir. 2021). 7 “First, the alleged

defamatory statement must be ‘sufficiently factual to be susceptible of being




7In its briefing, Project Veritas concedes that it is a public figure. Doc. No. [22], 11.
Because Project Veritas does not contest that it is a public figure, the Court has not relied
on (or taken judicial notice of) the articles referenced in footnotes 1 and 3 of CNN’s brief.
Doc. No. [26], 3.
                                           11
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 12 of 23




proved true or false.’” Id. (citing Milkovich v. Lorain J. Co., 497 U.S. 1, 21 (1990)).

“Second, the statement must be actually false.” Id. “And third, a public-figure

plaintiff must prove that the defendant made the alleged defamatory statement

with ‘actual malice’—‘with knowledge that it was false or with reckless disregard

of whether it was false or not.’” Id. (citing New York Times Co. v. Sullivan, 376

U.S. 254 (1964)).

      C.     Type of Defamation at Issue

      As an initial matter, the Court must consider whether the Project Veritas’s

Complaint is premised on defamation by direct statements or defamation by

implication, as asserted by Defendant CNN in its Motion to Dismiss. Doc. No.

[20-1], 11; see Celle v. Filipino Rep. Enters. Inc., 209 F.3d 163, 177 (2d Cir. 2000)

(“Whether particular words are defamatory presents a legal question to be

resolved by the court[s] in the first instance.”) (citations omitted); see also Turner

v. Wells, 879 F.3d 1254, 1269 (11th Cir. 2018) (“Whether the defendant’s

statements constitute defamation by implication is a question [of] law for the

court to determine.”).

      Under New York law, defamation by implication “is premised not on

direct statements but on false suggestions, impressions and implications arising


                                        12
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 13 of 23




from otherwise truthful statements.” Armstrong v. Simon & Schuster, 85 N.Y.2d

373, 381, 649 N.E.2d 825 (1995).

      CNN asserts that the Complaint does not identify a direct, false statement

of fact but instead “combines several sentences” to interpret the statements of

CNN’s anchors as implying that Project Veritas was banned from Twitter for

spreading misinformation. Doc. No. [20-1], 11.

      In opposition, Project Veritas asserts that CNN’s implication argument is

false and irrelevant because Project Veritas is alleging that statements made by

Cabrera are “directly defamatory.” Doc. No. [22], 10 (emphasis omitted). More

specifically, Project Veritas focuses on the following three sentences excerpted

from Cabrera’s broadcast: (1) that social media companies were “cracking down

to stop the spread of misinformation and to hold some people who are spreading

it accountable”; (2) “For example, Twitter has suspended the account of Project

Veritas . . . .”; and (3) “This is part of a much broader crackdown as we mentioned

by social media giants on accounts that are promoting misinformation.” Doc.

No. [22], 12 (citing Doc. No. [1], ¶ 39) (emphasis omitted).

      Because each of the above statements could be proven to be literally true

in isolation, but plausibly defamatory when read as a whole, the Court finds that


                                       13
    Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 14 of 23




this case is not one of express defamation, but one of defamation by implication.

As stated by the Second Circuit, “in certain circumstances even a technically true

statement can be so constructed as to carry a false and defamatory meaning by

implication or innuendo.” Martin v. Hearst Corp., 777 F.3d 546, 552 (2d Cir.

2015). 8 “Where a publication implies something false and defamatory by

omitting or strategically juxtaposing key facts, the publication may be actionable

even though all of the individual statements are literally true when considered in

isolation.” Id.

       New York has a two-part test related to defamation by implication that

“requires proof (1) that the language of the communication as a whole reasonably

conveys a defamatory inference, and (2) that such language affirmatively and

contextually suggests that the declarant either intended or endorsed the

inference.” Partridge v. State, 173 A.D.3d 86, 91–92, 100 N.Y.S.3d 730 (2019).

       Applying New York law, the Court finds that the Complaint filed by

Project Veritas plausibly pleads defamation by implication as a fact-finder could



8  As stated by another court, “[i]n defamation-by-implication cases, the alleged
defamatory statement has two possible meanings, one that is defamatory and one that
is not. These cases differ from ordinary defamation cases in which the alleged
defamatory statement has only a defamatory meaning.” Kendall v. Daily News Pub. Co.,
716 F.3d 82, 89 (3d Cir. 2013) (citations omitted).
                                       14
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 15 of 23




reasonably find that Cabrera’s use of the “for example” phrase immediately

following the “companies cracking down” on “misinformation” statement

creates an implied suggestion that Project Veritas was suspended for spreading

misinformation on the Twitter platform. Therefore, read together, the statements

could reasonably indicate the Complaint’s urged defamatory connotation that

Project Veritas was suspended from Twitter for promoting misinformation.

      Project Veritas has also made a plausible showing that the plain language

of the communication suggests that the inference was intended or endorsed by

Cabrera through Project Veritas’s showing that the entirety of the CNN segment

was focused on the spread of misinformation and the sentence that immediately

followed the “for example” sentence at issue again mentions a misinformation

crackdown. Doc. No. [22], 12. While Defendant CNN argues that Project Veritas’s

showing is essentially cursory, there is some persuasive authority from a New

York district court that supports the analysis presented by Project Veritas. See

Biro v. Condé Nast, 883 F. Supp. 2d 441, 467, 476 (S.D.N.Y. 2012) (indicating in

the context of a hypothetical that “an article that linked . . . key statements

together, with the obvious (albeit unstated) insinuation that the public figure

committed the crimes, would potentially be actionable” and further stating in a


                                     15
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 16 of 23




merits analysis that it was “reasonable to conclude that [d]efendants intended

[an] inference to be drawn” just by review of the way the “challenged passage”

was written).

      D.     Merits of CNN’s Motion to Dismiss

      Having determined the type of defamation at issue, the Court now turns

to the merits of CNN’s Motion to Dismiss. Defendant CNN presents two

independent arguments in its Motion to Dismiss: (1) the allegedly defamatory

statements were substantially true and not materially false, and thus, Project

Veritas cannot sustain the falsity element required under New York defamation

law; and (2) the Complaint filed by Project Veritas fails to plausibly allege that

CNN acted with the constitutionally required actual malice. Doc. No. [20], 1–2.

The Court addresses each of CNN’s arguments in turn.

             1.    Substantial Truth and Falsity

      CNN argues that the alleged defamatory statements are non-actionable

because they are: substantially true (under New York law) and not materially

false (under federal constitutional law). Doc. No. [20], 2, ¶ 1.

       “‘Substantial truth’ is the standard by which New York law, and the law

of most other jurisdictions, determines an allegedly defamatory statement to be


                                        16
     Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 17 of 23




true or false.”9 Tannerite Sports, LLC v. NBCUniversal News Grp., 864 F.3d 236,

242 (2d Cir. 2017). 10 “[A] statement is substantially true if the statement would

not have a different effect on the mind of the reader from that which the pleaded

truth would have produced.” Id. (citations omitted). “Indeed, it is well settled in

New York ‘that an alleged libel is not actionable if the published statement could

have produced no worse an effect on the mind of a reader than the truth pertinent

to the allegation.’” Franklin v. Daily Holdings, Inc., 135 A.D.3d 87, 94,

21 N.Y.S.3d 6 (2015) (citations omitted). “Courts typically compare the



9 There is some case law that indicates that substantial truth is an affirmative defense
and other case law that indicates that substantial truth is an element of a defamation
cause of action. See Tannerite Sports, LLC v. NBCUniversal News Grp., 864 F.3d 236,
247 (2d Cir. 2017). For purposes of the case sub judice, it is not necessary to specify
whether the Court considers substantial truth an element of the defamation cause of
action or an affirmative defense, because the Eleventh Circuit permits consideration of
affirmative defenses in the Rule 12(b)(6) motion context so long as the affirmative
defense appears on the face of the Complaint. Quiller v. Barclays Am./Credit, Inc., 727
F.2d 1067, 1069 (11th Cir. 1984), on reh’g, 764 F.2d 1400 (11th Cir. 1985). Here, the
affirmative defense appears on the face of the Complaint and the Court proceeds with
the 12(b)(6) merits consideration.
10 The standard appears to be the same or similar across the jurisdictions. For example,
the Seventh Circuit Court of Appeals has stated: “[t]he rule of substantial truth is based
on a recognition that falsehoods which do no incremental damage to the plaintiff’s
reputation do not injure the only interest that the law of defamation protects.” Haynes
v. Alfred A. Knopf, Inc., 8 F.3d 1222, 1228 (7th Cir. 1993) (emphasis omitted). “A news
report that contains a false statement is actionable ‘only when ‘significantly greater
opprobrium’ results from the report containing the falsehood than would result from
the report without the falsehood.’” Id. (citations omitted).
                                          17
     Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 18 of 23




complained of language with the alleged truth to determine whether the truth

would have a different effect on the mind of the average reader.” Id.; see also

Miller v. J.-News, 211 A.D.2d 626, 627, 620 N.Y.S.2d 500 (1995) (“under New York

law the ‘accuracy of the report should be assessed on the publication as a whole,

not isolated portions of it.’”) (citations omitted).11

        The Court will now engage in the comparison referenced in the New York

case law for the case sub judice. The comparison of the implicated language set

forth in Project Veritas’s Complaint and the pleaded falsity is essentially as

follows: “Twitter has suspended the account of Project Veritas for violating a

policy that prohibits the sharing or threat of sharing of private information” as

compared to “Twitter has suspended the account of Project Veritas for violating

a policy that prohibits the spreading or promoting of misinformation”

(quotations and emphasis provided by the Court).




11 The Court recognizes that the Eleventh Circuit has stated that “the actual truth or
falsity of a statement seems to be quintessentially a question of fact that ought not to be
determined on a motion to dismiss absent some extraordinary factor . . . .” Michel, 816
F.3d at 707. However, in applying the above-stated New York substantial truth standard
to the case sub judice, this Court is not determining actual truth or empirical fact. The
Court is only determining the plausibility of whether the truth as pled in the Complaint
would have had a different effect on the minds of the average reader.
                                          18
     Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 19 of 23




        While Project Veritas asserts that CNN’s statements implying that

Project Veritas was banned from Twitter for spreading misinformation maligns

its “journalistic integrity,” (see Doc. No. [1], ¶ 44), the pleaded truth of being

accused of violating a policy aimed at “protect[ing] individuals from coming to

physical harm as a result of their information being shared”12 similarly maligns

a journalist’s professional reputation. In essence, “[s]ubstitute the true for the

false . . . and the damage to [plaintiff’s] reputation would be no less.” Haynes v.

Alfred A. Knopf, Inc., 8 F.3d 1222, 1228 (7th Cir. 1993). Furthermore, while there

is some difference between violating a policy by providing incorrect or

misleading information and violating a policy by truthfully providing

someone’s private information (and potentially exposing a person to harm),

the distinction is not enough to make the statement at issue actionable as

both violations are similarly damaging to the journalist’s reputation. Project

Veritas’s allegations and arguments do not plausibly suggest that the truth (as

pled in the Complaint) would have a different effect on the mind of the

average reader in terms of the reputational harm.




 This quote is excerpted from the Twitter “Private information policy” exhibit. Doc.
12

No. [20-2], 6.
                                       19
     Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 20 of 23




        This conclusion aligns with persuasive authority. For example, “[t]he Sixth

Circuit recognized that there’s some difference between being a suspected

participant in a heinous bombing and being a material witness in the

investigation. But, the court held, the distinction to the respectable community

member wasn’t significant enough to make the misstatement actionable.” Bustos

v. A & E Television Networks, 646 F.3d 762, 768 (10th Cir. 2011) (discussing

Nichols v. Moore, 477 F.3d 396, 398, 401 (6th Cir. 2007)).

        Under New York law, “[i]f an allegedly defamatory statement is

‘substantially true,’ a claim of libel is ‘legally insufficient and . . . should [be]

dismissed.’” Biro, 883 F. Supp. 2d at 458 (citations omitted); see also Love v.

William Morrow & Co., 193 A.D.2d 586, 587, 597 N.Y.S.2d 424, 426 (1993)

(“Provided that the defamatory material on which the action is based is

substantially true (minor inaccuracies are acceptable), the claim to recover

damages for libel must fail.”).13



13  The Court recognizes the authority cited by Project Veritas in its briefing that
discusses substantial truth being different from “half-truths” and inaccurate
information. Doc. No. [22], 15 (citing Agbimson v. Handy, No. 17CV9252, 2019 WL
3817207 at *5 (S.D.N.Y. Aug. 14, 2019); Boehner v. Heise, 734 F. Supp. 2d 389, 399
(S.D.N.Y. 2010)). The Court notes that the district court’s ruling in Agbimson case is
based on language from the Boehner case in which the district court held that a letter

                                        20
  Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 21 of 23




       This same analysis applies to Defendant CNN’s material falsity arguments

based upon federal law. See Air Wisconsin Airlines Corp. v. Hoeper, 571 U.S. 237,

251 (2014) (“[A] materially false statement is generally one that ‘would have a

different effect on the mind of the reader [or listener] from that which

the . . . truth would have produced.’”) (cleaned up).

       The Court recognizes that in its briefing, Project Veritas made a number of

policy and other arguments (concerning a media outlet’s ethical responsibilities

and the requirement for public trust of the media) in an effort to defeat the

pending Motion to Dismiss. However, without more, the Court is unable to

uphold Project Veritas’s policy arguments, as the Supreme Court has recognized

that there can be times when alleged false speech is insulated from liability. See,




containing “elements of truth,” but also “inaccurate information” could not be
characterized as substantially true. Boehner, 734 F. Supp. 2d at 399. The Boehner court
provided no citation of law for this particular statement. However, prior to making this
statement, the Boehner court quoted the New York case law (quoted supra in this
Court’s Order), i.e., that truth may be relied upon as a defense “even if the published
statements are not literally true, or if there are minor inaccuracies, so long as the
publication is ‘substantially true.’” Id. at 398. The Boehner court also quoted the “mind
of the reader,” test, but its application in the court’s analysis is not clear. Id. at 399.
Accordingly, without more, this Court declines to adopt the persuasive authority of the
Boehner district court case and its progeny, Agbimson. The Court will instead apply the
“minor inaccuracies are acceptable” authority found in New York’s appellate
jurisprudence as discussed, supra.
                                          21
Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 22 of 23
     Case 1:21-cv-01722-SCJ Document 27 Filed 03/17/22 Page 23 of 23




Cabrera that occurred four days before the on-air commentary. Doc.

No. [22], 11.15

        Under the Supreme Court’s holding in New York Times Company v.

Sullivan, 376 U.S. 254, 280 (1964) a public figure plaintiff must prove that an

allegedly libelous statement was made with actual malice, that is, made “with

knowledge that it was false or with reckless disregard of whether it was false or

not.” After review, the Court finds that because its substantial truth analysis,

supra, is determinative, an actual malice plausibility ruling is not required at this

time. As stated above, Project Veritas’s Complaint is legally insufficient.

IV.     CONCLUSION

        For the above stated reasons, the Motion to Dismiss filed by Defendant

Cable News Network, Inc. Doc. No. [20] is GRANTED. The Clerk is DIRECTED

to enter judgment and close this case.

        IT IS SO ORDERED this 17th day of March, 2022.


                                         ________________________________
                                         HONORABLE STEVE C. JONES
                                         UNITED STATES DISTRICT JUDGE

15“Those who have voluntarily sought and attained influence or prominence in matters
of social concern are generally considered public figures.” Celle, 209 F.3d at 176.
“Whether a plaintiff is a public figure is a question of law for the court.” Id.
                                         23
